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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                       LUBBOCK DIVISION

        UNITED STATES OF AMERICA                         NO. 5:05-CR-083-C(02)

        v.

        JUAN ANTHONY REYES

                           GOVERNMENT’S RESPONSE TO DEFENDANT’S
                               MOTION UNDER 18 U.S.C. § 3582(c)(2)

        I.      Eligibility

                A.      The government:

                        ____ agrees with the probation worksheet’s finding that the defendant is

                        ineligible for a sentence reduction and asks the Court to deny the motion.



                         ✔ agrees with the probation worksheet’s finding that the defendant is
                        ____

                        eligible for a sentence reduction. Please see Part II for the government’s

                        recommendation as to whether to grant the motion for reduction.



                        ____ does not agree with the probation worksheet’s findings on the

                        defendant’s eligibility for a sentence reduction for the following reasons:




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II.     Recommendation (prosecutor will complete only if the defendant is eligible
        for a reduction)

        A.      If the defendant is eligible, the government:

                i.       ✔ opposes any reduction.
                        ____


                ii.     ____ does not oppose a reduction, but only to

                                ____ the top of the new guideline range.

                                ____ the middle of the new guideline range.

                                ____ other:


                iii.    ____ does not oppose a reduction to the bottom of the defendant’s

                        new guideline range, which is the lowest sentence the defendant may

                        receive. See USSG § 1B1.10(2)(A).


                iv.     ____ does not oppose a reduction to _____
                                                              0 months, which is

                                        0
                        ______% below ______ months, the bottom of the new guideline

                                                                                    0
                        range. This is because the defendant’s prior sentence of _____

                                                   0
                        months was ______% below ______ months, the bottom of the

                        original range (applicable only if a defendant received a below-

                        guidelines sentence due to a substantial-assistance motion, see

                        USSG § 1B1.10(b)(2)(B)).




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         B.      If the government checked boxes (i.) or (ii.) above—and therefore opposes

                 a full reduction in the defendant’s sentence—the reasons include

                 (prosecutor will check one or more):

                  ✔ the defendant’s criminal history
                 ____

                 ____ the offense conduct or relevant conduct

                  ✔ the defendant’s post-sentencing conduct
                 ____

                 ____ other:

                 Further explanation of the government’s opposition includes:
Criminal History - At the time the defendant committed the offense in this case, he had one
felony conviction and five misdemeanor convictions. He had been released from prison less
than two years at the time he committed this federal offense. His criminal history category
was VI.

Post-Sentencing Conduct - The defendant has been disciplined while in the custody of the
Bureau of Prisons on this conviction at least five times.




                                                   Respectfully submitted,

                                                  JOHN R.R.
                                                  SARAH   PARKER
                                                            SALDAÑA
                                                  UNITED  STATES ATTORNEY
                                                  UNITED STATES ATTORNEY
                                                    Denise Williams
                                                  s/________________________________
                                                  DENISE WILLIAMS
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the foregoing was mailed

on 2/13/16       to Juan Anthony Reyes, Reg. No. 31910-177,

FCI Seagoville, P.O. Box 9000, Seagoville, TX 75159.



                                                   Denise Williams
                                                 s/________________________________
                                                  DENISE WILLIAMS
                                                 Assistant United States Attorney




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